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                    Attorneys for Defendant Facebook, Inc.,
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           11                                    UNITED STATES DISTRICT COURT
           12                                  NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
           13

           14
                   IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
           15      PRIVACY USER PROFILE LITIGATION,
                                                                         FACEBOOK, INC.’S ADMINISTRATIVE
           16                                                            MOTION TO FILE UNDER SEAL
                   This document relates to:                             SPECIAL MASTER’S ORDER RE:
           17                                                            BUSINESS PARTNERS
                   ALL ACTIONS
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Gibson, Dunn &
                   FACEBOOK, INC.’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL SPECIAL MASTER’S ORDER RE: BUSINESS PARTNERS
Crutcher LLP
                                                         CASE NO. 3:18-MD-02843-VC
                         Case 3:18-md-02843-VC Document 760 Filed 11/19/21 Page 2 of 3


               1          Pursuant to Civil Local Rules 7-11 and 79-5, Facebook, Inc. (“Facebook”) hereby submits
               2   this Administrative Motion to File Under Seal Special Master Garrie’s Order Re: Business Partners
               3   (the “Order”). Facebook seeks to seal limited portions of the Order that reveal commercially
               4   sensitive information regarding Facebook’s business strategies and relationships that Facebook
               5   designated Confidential or Highly Confidential – Attorneys’ Eyes Only under the Protective Order in
               6   this action. See Dkt. 122.
               7          The Order is being filed today pursuant to Special Master Garrie’s November 17, 2021 order
               8   to file all of his orders by November 19, 2021. Due to the Thanksgiving holiday, Facebook will file
               9   supporting papers for this request and proposed redactions for the Order within five business days.
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                                                         CASE NO. 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 760 Filed 11/19/21 Page 3 of 3


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